 Case 1:17-cv-00721-GJQ-RSK ECF No. 41 filed 06/19/18 PageID.304 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

AUTOCAM CORPORATION,

               Plaintiff,                              Case No. 1:17-cv-721

v.                                                     Honorable Gordon J. Quist

KENDRION (SHELBY) INC., formerly
known as Kendrion FAS Controls Inc.,

               Defendant.
                                                 /

FOSTER, SWIFT, COLLINS & SMITH, P.C.                 MILLER, CANFIELD, PADDOCK
 Attorneys for Plaintiff                                and STONE, P.L.C.
 James B. Doezema (P38181)                           ATTORNEYS FOR DEFENDANT
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         SECOND STIPULATION AND PROPOSED ORDER TO AMEND CASE
                          MANAGEMENT ORDER



       The parties, by their respective counsel, stipulate and agree that the Case Management

Order entered on November 2, 2017, and amended by stipulation March 2, 2018, may be further

amended to extend the deadline for the parties to disclose expert reports from July 16, 2018, until

August 16, 2018, and to also provide that the parties may take expert depositions within 30 days

after the deadline for completion of discovery of September 3, 2018, or until October 3, 2018.

This extension is requested to allow the parties’ experts additional time to prepare their reports

and prepare for depositions. These extensions will not affect the other deadlines set forth in the

Case Management Order.
 Case 1:17-cv-00721-GJQ-RSK ECF No. 41 filed 06/19/18 PageID.305 Page 2 of 2




                                            Foster, Swift, Collins & Smith, P.C.
                                            Attorneys for Plaintiff

DATED: June 18, 2018                        BY:     /s/ James B. Doezema
                                                    James B. Doezema (P38181)


                                            Miller, Canfield, Paddock and Stone, P.L.C.
                                            Attorneys for Defendant

DATED: June 18, 2018                        BY:     /s/ Stanley J. Stek
                                                    Stanley J. Stek (P29332)



                                           ORDER

                             At a session of said Court held in the
                             Federal Building, Grand Rapids,
                             Michigan, on June 19, 2018.

                             PRESENT:       Honorable Gordon J. Quist,
                                            U.S. District Judge.

         IT IS SO ORDERED.


                                                    ____________________________________
                                                       /s/ Gordon J. Quist
                                                    Honorable Gordon J. Quist,
                                                    U.S. District Judge




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